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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

United States of America,

       Plaintiff,

v.                                                   Case No. 11-20752

D-1, Orlando Gordon,                                 Honorable Sean F. Cox

      Defendant.
_________________________________/

                                OPINION & ORDER
                    DENYING DEFENDANT ORLANDO’S MOTION FOR
                     DISQUALIFICATION (DOCKET ENTRY NO. 309)

       This matter is currently before the Court on a “Motion For Disqualification Of Trial

Court Pursuant To 28 USC Secs. 144 and 455, And The Due Process Clauses” (Docket Entry

No. 309) filed by Defendant Orlando Gordon. The Court finds that oral argument would not aid

the decisional process. See Local Rule 7.1(f)(2), U.S. District Court, Eastern District of

Michigan. The Court therefore orders that the motion will be decided without oral argument.

Finding no basis to support the relief sought, the Court shall DENY the motion.

       In the instant motion, Defendant Gordon moves for disqualification of the undersigned

pursuant to “28 U.S.C. Secs. 144 and 455, and pursuant to the constitutional due process clauses,

US Const, Ams V, XIV” based upon actions this Court has taken during the pretrial proceedings

in this criminal case. (Docket Entry No. 309 at 1). The motion indicates that it is based upon

this Court’s actions in: 1) striking “joinder and concurrences” filed by Defendant Gordon; 2)

ruling upon objections during evidentiary hearings in this matter; and 3) holding two brief status

conferences with counsel in chambers without Defendants having been present.

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       Judicial disqualification is required under 28 U.S.C. § 455(a) “in any proceeding in

which [the Court’s] impartiality might reasonably be questioned.” 28 U.S.C. § 455(a). In

addition, §455(b)(1) requires disqualification where a judge “has a personal bias or prejudice

concerning a party.” 28 U.S.C. § 455(b)(1). The Sixth Circuit has “held that ‘[i]n order to

justify recusal under 28 U.S.C. § 455, the judge’s prejudice or bias must be personal or

extrajudicial.’” EBI-Detroit, Inc. v. City of Detroit, 279 Fed. App’x 340, 354 (6th Cir. 2008)

(quoting United States v. Jamieson, 427 F.3d 394, 405 (6th Cir. 2005)). “Personal bias” is

“prejudice that emanates from some source other than participation in the proceedings or prior

contact with related cases.” Jamieson, 427 F.3d at 405.

       Here, Defendant Gordon’s general allegations of bias toward him and his counsel,

unsupported by any facts setting forth a personal or extrajudicial source of the bias, are

insufficient to warrant recusal under § 455.

       Defendant Gordon also asserts that recusal is warranted under 28 U.S.C. § 144, which

provides as follows:

       Whenever a party to any proceeding in a district court makes and files a timely
       and sufficient affidavit that the judge before whom the matter is pending has a
       personal bias or prejudice either against him or in favor of any adverse party, such
       judge shall proceed no further therein, but another judge shall be assigned to hear
       such proceeding.

       The affidavit shall state the facts and the reasons for the belief that bias or
       prejudice exists, and shall be filed not less than ten days before the beginning of
       the term at which the proceeding is to be heard, or good cause shall be shown for
       failure to file it within such time. A party may file only one such affidavit in any
       case. It shall be accompanied by a certificate of counsel of record stating that it is
       made in good faith.

28 U.S.C. § 144 (emphasis added).

       Although “§ 144 on its face appears to require automatic disqualification once the

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affidavit is filed,” it is well-established that the statute is not so construed. Easely v. University

of Michigan Bd. of Regents, 853 F.3d 1351, 1355 (6th Cir. 1988). Rather, once such an affidavit

has been filed, the “district court judge has a duty to examine the affidavit to determine whether

it is timely and legally sufficient.” Id.

        The undersigned is also mindful that the Sixth Circuit has cautioned that “[t]here is as

much an obligation upon a judge not to recuse himself when there is no occasion as there is for

him to do so when there is.” Easley, 853 F.3d at 1356; see also Michigan Tech. Reps, Inc. v.

Mold-Ex, Inc., 2008 WL 2857982 at * 3 (E.D. Mich. 2008) (noting that in evaluating a motion

for disqualification, “ that ‘where the standards governing disqualification have not been met,

disqualification is not optional; it is prohibited.’”) (quoting In re Aguinda, 241 F.3d 194, 201 (2d

Cir. 2001)). This is especially so here, where the undersigned is the now the third judge that has

presided over this multi-defendant criminal action and trial is less than two months away.

        “An affidavit supporting the disqualification of a judge must strictly comply with all of

the requirements set forth in the judicial disqualification statute before it will effectively

disqualify a judge.” 32 AM.JUR.2D FEDERAL COURTS § 559, Sufficiency of Affidavit. “A legally

sufficient affidavit must meet the following requirements: (1) the facts must be material and

stated with particularity; (2) the facts must be such that if true they would convince a reasonable

[person] that a bias exists; and (3) the facts must show the bias is personal as opposed to judicial

in nature.” Henderson v. Department of Public Safety and Corrections, 901 F.2d 1288, 1296

(6th Cir. 1990); see also General Aviation v. Cessna Aircraft Co., 915 F.2d 1038, 1043 (6th Cir.

1990); In re M. Ibrahim Khan, P.S.C., 751 F.2d 162, 164 (6th Cir. 1984); 32 AM. JUR.2D

FEDERAL COURTS § 559, Sufficiency of Affidavit. “Affidavits of bias are strictly construed


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against the party seeking a judge’s disqualification.” Id.; see also United States v. Womack, 454

F.2d 1337, 1341 (5th Cir. 1972) (“Because of the disruption and delay of the judicial processes

that can be caused by the disqualification of a trial judge, affidavits of disqualification are

strictly scrutinized for form, timeliness, and sufficiency.”); Cochran v. City of Norton, 87 f.3d

1315 (6th Cir. 1996) (citing Glass v. Pfeffer, 849 F.2d 1261, 1267 (10th Cir. 1988)).

        Here, the Affidavit submitted by Defendant in support his Motion for Disqualification

states, in its entirety:

                 Orlando Gordon being first duly sworn, deposes and states as follows:
        1.       My name is Orlando Gordon, and I am Defendant No. 1 in U.S. District
                 Court for the Eastern District of Michigan Case No. 11-20752.
        2.       I have been represented in this case from the time of the original
                 Indictment by attorney John F. Royal.
        3.       I have attended the Court proceedings in this case, including on February
                 1, 8, and 13, 2013; and I have been provided with copies of motions and
                 related documents filed by my attorney; responses filed by the
                 government; and Orders issued by Judge Sean Cox.
        4.       I have read and reviewed the Motion for Disqualification of Trial Court
                 Pursuant to 28 U.S.C. Sec. 144 and 455, and the Due Process Clauses, and
                 the Memorandum of Law in support, which have been drafted by my
                 attorney for filing in this case.
        5.       The statements in the Motion for Disqualification and in the Memorandum
                 of Law in support are true and correct to the best of my knowledge and
                 belief, and, with respect to those facts of which I do not have personal
                 knowledge of, I believe them to be true.
        6.       It is apparent to me that Judge Shawn [sic] Cox is personally biased and
                 prejudiced against both my attorney, John F. Royal, and against myself.
                 In support of this statement, I incorporate by reference the complete text
                 of the Motion for Disqualification of Trial Court Pursuant to 28 U.S.C. §
                 Secs. 144 and 455, and the Due Process Clauses, and the Memorandum of
                 Law in support, as if fully stated herein.
        7.       I certify that the Motion for Disqualification of Trial Court Pursuant to 28
                 U.S.C. Secs. 144 and 455, and the Due Process Clauses, and the
                 Memorandum of Law in support, are brought and made in good faith, and
                 with my consent.


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       8.      The information in this affidavit is true and correct to the best of my
               knowledge and belief.
       9.      I am competent to testify to the matters contained in this affidavit.

(Docket Entry No. 309-4).

       Contrary to the language of Section 144, which expressly requires that the “affidavit shall

state the facts and the reasons for the belief that bias or prejudice exists,” the affidavit submitted

by Defendant Gordon does not do so. It is therefore legally insufficient. See, e.g., Henderson,

901 F.2d at 1296 (holding affidavit as legally insufficient under § 144 where “[t]he only affidavit

submitted with the motion for recusal was one in which [Defendant] attested that the contents of

the motion to recuse” were “true and accurate to the best of his knowledge and belief.”). The

motion must therefore be denied based upon the legal insufficiency of the affidavit.

       Moreover, even if the affidavit had contained facts concerning the actions that are set

forth in Defendant Gordon’s motion, the Court concludes that such facts would not convince a

reasonable person that this Court is biased against him or his counsel. The actions that form the

basis for Defendant Gordon’s motion are judicial rulings or actions in this case.

       As stated by the United States Supreme Court, “judicial rulings alone almost never

constitute a valid basis for a bias or partiality motion.” Liteky v. United States, 510 U.S. 540,

555 (1994). As the Court explained:

       In and of themselves (i.e., apart from surrounding comments or accompanying
       opinion), [judicial rulings] cannot possibly show reliance upon an extrajudicial
       source; and can only in the rarest circumstances evidence the degree of favoritism
       or antagonism required . . . when no extrajudicial source is involved. Almost
       invariably, they are proper grounds for appeal, not for recusal. Second, opinions
       formed by the judge on the basis of facts introduced or events occurring in the
       course of the current proceedings, or of prior proceedings, do not constitute a
       basis for a bias or partiality motion unless they display a deep-seated favoritism
       or antagonism that would make fair judgment impossible. Thus, judicial remarks

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        during the course of a trial that are critical or disapproving of, or even hostile to,
        counsel, the parties, or their cases, ordinarily do not support a bias or partiality
        challenge. They may do so if they reveal an opinion that derives from an
        extrajudicial source; and they will do so if they reveal such a high degree of
        favoritism or antagonism as to make fair judgment impossible . . . Not
        establishing bias or partiality, however, are expressions of impatience,
        dissatisfaction, annoyance, and even anger, that are within the bounds of what
        imperfect men and women, even after having been confirmed as federal judges,
        sometimes display. A judge’s ordinary efforts at courtroom administration – even
        a stern and short-tempered judge’s ordinary efforts at courtroom administration –
        remain immune.

Liteky, 510 U.S. at 555-556 (emphasis in original).

        Application of these principles is not difficult here, where the actions that form the basis

of Defendant’s Gordon’s motion are ordinary efforts at this Court’s administration over this

multi-defendant criminal action.

        First, Defendant Gordon contends that bias is established by this Court’s striking “joinder

and concurrences” filed by Defendant Gordon. The filings at issue, however, were filed after the

deadline established for the filing of pretrial motions.

        Rule 12 of the Federal Rules of Criminal Procedure provides that a “party may raise by

pretrial motion any defense, objection, or request that the court can determine without a trial of

the general issue” and that the Court “may set a deadline for the parties to make pretrial

motions.” Fed. R. Crim. P. 12(b)(2) and (c) (emphasis added). This Court set a deadline for

filing pretrial motions in this case.

        Long after that deadline, however, and after hearings had been scheduled by the Court,

Defendant Gordon “filed motions on January 20, 2013 on behalf of Mr. Gordon seeking to join

and concur in” pretrial motions that had been filed by other Defendants. (Def.’s Br. at 6)

(emphasis added).

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        Defendant Gordon cannot circumvent the deadline established by this Court for filing

pretrial motions by calling a given filing – which is in reality a motion seeking pretrial relief – a

“joinder” or “concurrence.” Striking Defendant Gordon’s untimely submissions, filed after the

deadline for pretrial motions and without his having sought leave of Court to file, does not

reflect bias or partiality. It was simply a function of this Court’s efforts at efficient

administration and management of this multi-defendant criminal case.

        Second, Defendant Gordon contends that bias is established by some of this Court’s

rulings on objections during evidentiary hearings in this matter. As stressed by this Court during

the hearings, this Court “must exercise reasonable control over the mode and order of examining

witnesses” in order to “make those procedures effective for determining the truth” and to “avoid

wasting time.” Fed. R. Evid. 611(a). This Court’s rulings during the evidentiary do not reflect

bias or partiality toward any party or their counsel; they reflect this Court’s effort’s at proceeding

with the hearings in a logical and efficient manner given the number and nature of issues, and the

number of parties, involved.

        Third, Defendant Gordon contends that disqualification is required because this Court

held two brief status conferences with counsel in chambers, and without Defendants1 present, to

discuss the proposed schedule and procedure for continuing the motion and evidentiary hearings.

        While a criminal defendant has a right to be present at every stage of a trial, that does not

mean that a defendant has the right to be present at every conference. United States v. Barth,

424 F.3d 752, 762 (8th Cir. 2005). A “defendant’s presence is not required at a conference

regarding trial procedure. See, e.g., Cox v. United States, 309 F.2d 614, 616 (8th Cir. 1962) (“It


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         There are sixteen Defendants in this action.

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is not unusual for a judge to call counsel into chambers and discuss matters of evidence, the form

of questions, instructions proposed, and other matters looking to a more orderly trial, without

having a defendant present.”). These types of discussions are ‘not part of the trial within the

meaning of Rule 43.’ Id.” Barth, 424 F.3d at 762; see also United States v. Taylor, 489 Fed.

App’x 34, 44 (6th Cir. 2012) (citing Barth for the proposition that a defendant’s presence is not

required at a conference regarding trial procedure).

       The undersigned therefore concludes that disqualification under Section 1442 is not

warranted.

       Accordingly, for the reasons set forth above, IT IS ORDERED that Defendant Orlando’s

Motion For Disqualification is DENIED.

       IT IS SO ORDERED.

                                              S/Sean F. Cox
                                              Sean F. Cox
                                              United States District Judge

Dated: February 25, 2013




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        The standard for judicial disqualification set forth in Liteky also governs Defendant
Gordon’s contention that due process requires recusal. Lyell v. Renico, 470 F.3d 1177, 1186 (6th
Cir. 2006). A judge’s misconduct at trial may be characterized as “bias or prejudice,” in
violation of due process, only if it is “‘so extreme as to display clear inability to render fair
judgment,’” “so extreme in other words that it ‘display[s] a deep-seated favoritism or
antagonism” that it would make a fair trial impossible. Id. (quoting Liteky, supra). The Court
concludes this very high standard was not met, for the same reasons that the Court concludes that
recusal under Section 144 is not warranted.


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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

United States of America,

       Plaintiff,

v.                                                 Case No. 11-20752

D-1, Orlando Gordon,                               Honorable Sean F. Cox

      Defendant.
_________________________________/


                                    PROOF OF SERVICE

       I hereby certify that a copy of the foregoing document was served upon counsel of record

on February 25, 2013, by electronic and/or ordinary mail.

                                            S/Jennifer McCoy
                                            Case Manager




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